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IN THE UNITED STATES DISTRICT COURT
FOR THE 'SOUTHERN DISTRICT OF NEW YORK

 

m re Appncacion of GEORGE Wl &
SCHLICH for Order to Take Discqvery
Pursuant to 28 U.S.C. § 1782,

 

Applicant.

 

 

 

  

MEMORANDUM QF LAW IN SUPPORT OF EX PARTE PETITION AND::, “‘
APPLICATION FOR AN ORDER PURSUANT TO 28 U. S. C. § 1782 TO CONDUCT w
DISCOVERY FOR USE IN FOREIGN PROCEEDINGS '”"`

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Applicant George W. Schlich (“Sch]ich” or “Applicant”), as an agent for Intellia
Therapeutics, Inc. (“Intellia”), respectfully petitions this Court for an order, pursuant to 28
U.S.C. § 1782, authorizing discovery from The Rockefeller University (“Rockefeller”), Luciano
Marraffmi (“Marraffmi”), Vedder Price P.C. (“Vedder”? and Thomas Kowalski (“Kowalski”)
(collectively “Respondents”) for use in pending opposition proceedings in the Europeau Patent
Office (“EPO”).

PRELIMINARY STATEMENT

This Petition relates to the underlying European patent rights for aspects of CRISPR/Cas9
technology, a biotechnology breakthrough described as “the Biggest Biotech Discovery of the
Century.” (See Ex. 8 at 1.)l In an EPO proceeding brought by Applicant, and separately eight
other parties, to challenge patentability and seek revocation of certain CRISPR/Cas9 patents,
Respondents Kowalski and Vedder have filed sworn declarations containing selective and
incomplete information. Thus, Applicaut seeks discovery, pursuant to Section 1782, so that it
may provide the EPO with all the facts and complete the story before rendering its ruling.

The CRISPR/Cas9 system is a revolutionary biological tool permitting precise, targeted
editing of genomic DNA. The system uses an enzyme called “Cas9," which functions as a
molecular scissors, to cut DNA at a particular chosen sequence. The CRISPR/Cas9 system
makes it possible to delete, repair, or insert genetic material at the “cut site.” This system is
quicker, more simple, less costly, and more precise than prior DNA editing technologies,
opening up a broad range of possible applications First and foremost, the technology has great

promise to cure genetic diseases, such as hemophilia, muscular dystrophy, cystic iibrosis, and

 

l See also Ex. 9 at 20 (calling CRISPR/Cas 9 “the biggest game changer to hit biology” since
1985)

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Huntington’s disease. Intellia is harnessing the potential of the CRISPR/CasQ system to develop
potentially curative therapeutic options for patients with severe and potentially life-threatening
diseases by addressing the underlying cause of the disease. It seeks to bring new treatments and
potential cures to patients who currently have few options.

As part of its mission to help patients, Intellia licensed certain patent applications on the
CRISPR/Cas9 technology invented by, inter alia, Intellia co-founder Dr. Jennifer Doudna
(“Doudna Patent Applications”). The first of these patent applications was filed on May 25 ,
2012, on the eve of publication of a groundbreaking article by Doudna and her colleagues in the
journal Science (Ex. 10). On December 12, 2012, another group of applicants including
Respondent Marraf`mi of Rockefeller and Feng Zhang of the Broad lnstitute (“Broad”) filed the
first in a series of patent applications also claiming CRISPR/Cas9 technology (“Broad Patent
Applications”). Although filed nearly seven months after the Doudna Patent Applications, Broad
has obtained several patents in Europe that claim priority to the Broad Patent Applications
(“Broad Patents”).

Intellia, through its European patent agent Schlich, has filed oppositions2 to the first four
Broad Patents issued by the EPO challenging their patentability and seeking revocation of the
patents. Among other things, Intellia and other opponents have argued that the Broad Patents are
invalid because they do not list Respondent Marraffini or Respondent Rockefeller as an
applicant, despite claiming priority of invention back to the December 12, 2012 patent

application, on which Mairaffini was a named inventor. By failing to list Marraffini or

 

2 An “opposition” is a procedure that allows any third party to challenge the validity of a patent
in an inter partes, quasi-judicial proceeding before the EPO.

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Rockefeller as an applicant, the Broad Patents are not entitled to the benefit of priority of the
Broad Patent Applications.

ln response to Intellia’s arguments, Broad has argued that its priority claim is proper
because a United States inventorship analysis should dictate which applicants have the right to
claim priority. Specifically, Broad argues that the inventorship analysis of its United States
attorney, Respondent Kowalski of the law firm Vedder, excuses its failure to include various
inventors and applicants of priority applications To support Broad’s argument, Respondent
Kowalski submitted declarations to the EPO on behalf of Broad. One declaration provides
Kowalski’s opinion on the inventorship of the Broad Patents and Applications, and references
and relies upon documents from, and interviews with, the inventors (including Respondent
Marraffini and two additional employees of Respondent Rockefeller, Dr. David Bikard, and Dr.
Wenyan Jiang).3 The underlying documents and interview materials, however, were not
provided by Respondents or Broad to Applicant or the EPO. In other words, neither the
Applicant nor the EPO have the full record; they only have the documents that Broad selectively
wants them to see, and Kowalski’s conclusions

To ensure that the EPO has the complete set of facts and documents relevant to the issues
raised in the opposition procedure, pursuant to Section 1782, Applicant makes a limited ask of
this Court. Specifically, Applicant respectfully requests: (i) document discovery from
Respondents related to the transfer of rights and inventorship issues discussed in Respondent

Kowalski’s declarations; (ii) deposition discovery to obtain testimony from Respondent

 

3 Respondent Kowalski also submitted a declaration regarding the accuracy of certain assignment
documents purporting to assign the rights of certain inventors of the Broad Applications to
Broad. (Declaration of George Schlich (“Schlich Dec."), Ex. H.) The accuracy of these
documents had been called into question by Applicant as they referenced patent applications that
were not filed until after the date of the assignment (Id., Ex. E at ‘I[223.)

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Kowalski on his inventorship study and transfer of rights by the inventors; and (iii) deposition
discovery from Respondent Marraffini, one of those interviewed by Kowalski, and Rockefeller
on the underlying inventorship and assignment issues. Such targeted discovery is necessary to
prevent determination of the rights regarding a revolutionary biotechnology tool based on the
selective and one-sided set of facts presented by Respondent to the EPO. See In re Application
ofChevron Co)p., 709 F. Supp. 2d 283, 299 (S.D.N.Y. 2010) (Judge Kaplan granting Section
1782 discovery and stating “[s]unlight is said to be the best of disinfectants”) (internal quotation
marks omitted)).

Section 1782 authorizes “[t]he district court of the district in which a person resides or is
found [to] order him to give his testimony or statement or to produce a document or other thing
for use iii a proceeding iii a foreign or international tribunal[.]” 28 U.S.C. § 1782(a). The
discovery sought by this Petition not only satisfies all the statutory requirements for discovery,
but also all four discretionary factors weigh in favor of ordering the requested disclosure. See
Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 264-65 (2004). First, as a party to
the foreign proceedings, Applicant is an “interested person,” and the discovery sought is not
privileged. Second, Respondents are found within this District and are not parties to the
European patent proceedings, Ihird, the EPO (for which the discovery is sought) is receptive to
this type of evidence and the discovery is not otherwise available in the European oppositions
themselves. Fr'nally, the discovery sought here is not unduly burdensome because Applicant has
narrowly focused its requests on information relevant to the foreign proceeding in question, and
to information that itself was put at issue by Respondents Vedder and Kowalski in the foreign
proceedings, Where, as here, the information sought is relevant, it is “presumptively

discoverable” under Section 1782. ln re Bayer AG, 146 F.3d 188, 196 (3d Cir. 1998).

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For the reasons that follow, Applicant respectftu requests this Court grant its Section
1782 Petition for document and deposition discovery from the Respondents.
BACKGROUND

A. INTELLIA

Intellia is a leading genome editing company, focused on the development of proprietary,
potentially curative therapeutics using a recently developed biological tool known as the
CRISPR/Cas9 system. (See Ex. 11.) Intellia was co-founded by Dr. Jennifer Doudna of -the
University of California, Berkeley, who, in collaboration with Dr. Emmanuelle Charpentier, led
the team that developed the application of CRISPR/Cas9 and its use as a tool for genome
engineering (See Ex. 12.) For this invention, Drs. Doudna and Charpentier have received
numerous awards and recognitions, including the Breakthrough Prize in Life Sciences, Time
Magazine’s 100 most influential people in 2015, the Lurie Prize in Biomedical Sciences from the
Foundation for the National Institutes of Health, the Heineken Prize from the Royal Netherlands
Academy of Arts and Sciences, and the Gruber Prize in Genetics. (See Ex. 13.)

On May 25 , 2012, Dr. Doudna and her co-workers filed U.S. Provisional Patent
Application No. 61/652,086 describing the team’s groundbreaking work. (See Ex. 14.) This
patent application has led to numerous United States and foreign patent applications concerning
the CRISPR/Cas9 technology (“Doudna Patent Applications”). Recognizing the importance of
the Doudna Patent Applications to its goal to cure diseases using CRISPR/CasQ, Intellia took a
license to these patents. (See Ex. 12.)

The mission of Intellia is to develop potentially curative genome editing treatments that
can positively transform the lives of people living with severe and life-threatening diseases.

(Ex. 11.) For example, through a collaboration with Novartis, Intellia’s CRISPR platform is

being used to engineer chimeric antigen rcceptor T-cells, which may have applications in the

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treatment of cancer. (See Ex. 12.) Additionally, Novartis and Intellia are using the CRISPR
platform to edit hematopoietic stem cells, which has the potential to treat hereditary blood
disorders like sickle cell anemia or hemophilia. (Id.) Intellia is also collaborating with
Regeneron to, for example, develop potential treatments for liver diseases. (See Ex. 15 .) Thus,
Intellia is actively seeking to translate the promise of CRISPR/Cas9 into meaningful advances
for patients.

B. THE BROAD PATENTS
On December 12, 2012, nearly seven months after the first Doudna Patent Application

was filed, Broad filed US Provisional Patent Application 61/736,527 (“’527 Provisional
Application”). (See Schlich Dec., Ex. A.) This was the first iii a series of 21 priority patent
applications and ten Patent Cooperation Treaty (“PCT”) applications filed on December 13, 2013
relating to CRISPR/CasQ technology. (See id., Ex. F at Annex 1.) There were initially four listed
inventors for the ’527 Provisional Application: Feng Zhang, Le Cong, Naomi Habib, and
Respondent Luciano Marra:ftini. (Id., Ex. A.)4 Drs. Zhang, Cong, and Habib were researchers at
Broad (or its partner institutions). Respondent Marraffini was a researcher at Respondent
Rockefeller.

Stemming from the ’527 Provisional Application, Broad filed dozens of patent
applications iii the United States and in Europe. The European patent applications resulted in
more than four issued European patents, including European Patent Nos. 2 771 468 Bl (“the

’468 patent”), EP 2 784 162 Bl (“the ’162 pateot”), EP 2 764 103 Bl (“the ’ 103 patent”), and

 

4 On May l, 2014, Broad filed a request with the U.S. Patent Office to correct the inventorship of
the ’527 Provisional Application, and add as inventors David Benjamin Turitz Cox, Patrick Hsu,
Shuailiang Lin, and Fei Ran. (Schlich Dec., Ex. D.) Broad did not ask the Patent Office to
remove Marraffini or Habib as inventors. (See id.)

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EP 2 896 697 Bl (“the ’697 patent”) (collectively the “Challenged Patents”). (See Schlich Dec.
at 114.) Notably, despite claiming priority to the ’527 Provisional Application on which
Respondent Marraffmi is listed as an inventor and applicant, the Challenged Patents do not list
Marraffini or Rockefeller as an applicant (See id. at ‘]H[4, 9.)

C. THE INTELLIA OPPOSITION PROCEEDINGS BEFORE THE EUROPEAN
PATENT OFFICE

Between October 26, 2015 and lurie 2, 2016, Applicant Schlich filed four oppositions

with the EPO seeking the revocation of the Challenged Patents (“lntellia Oppositions”):

 

 

 

Patent Numbei' Patent Title Listed Date Opposition
Inventors Filed
EP 2 771 468 Bl Engineering of Systems, Feng Zhang October 26, 2015
Methods and Optimized Lc Cong
Guide Compositions for Patrick Hsu
Sequence Manipulation Fei Ran
EP 2 784 162 Bl Engineering of Systems, Le Cong January 8, 2016

Methods and Optimized Feng Zhang
Guide Compositions for

 

 

Sequence Manipulation Patrick Hsu
Fei Ran
EP 2 764 103 Bl CRISPR-CAS Systems and Feng Zhang May 12, 2016
Methods for Altering
Expression of Gene
Products
EP 2 896 697 Bl Engineering of Systems, Feng Zhang June 2, 2016
Methods and Optimized Le Cong
Guide Compositions for Patrick Hsu
Sequence Manipulation Fei Ran

 

 

 

 

 

 

(Schlich Dec. at ‘][4.) Applicant Schlich is a European Patent Attorney. (Id. at ‘1[1.) As is
common practice in the EPO, Schlich filed the Intellia Oppositions in his name on behalf of his
client lntellia. (See id. at 'H4, 7.) The Intellia Oppositions are inter partes procedures, meaning

both Applicant and the patent owners can submit argument and evidence to the EPO. (See id. at

‘ll3-)

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The Intellia Oppositions seek revocation of the Challenged Patents on several grounds,
including because the Challenged Patents fail to name as applicants individuals (including
Respondent Marraffini) who are listed as inventors and applicants of the priority patent
applications (See id. at ‘][12.) Each of the Challenged Patents was also challenged by six to eight
other parties, all of which also filed oppositions seeking revocation of one or more of the
Challenged Patents on the grounds that the Broad had failed to name in the PCT applications all
the applicants of the priority applications (See, e.g., id. at 9[13; id., Ex. E at ‘Hl62-163.)

ln response to the first Intellia Oppositions, Broad filed a response on June 30, 2016,
making arguments surrounding the inventorship and ownership of the alleged inventions in the
Challenged Patent, (Id. at L14; id., Ex. E.). Broad also argued that although the original ’527
Provisional Application listed Feng Zhang, Le Cong, Naomi Habib, and Respondent Luciano
Marraffini, neither Dr. Habib nor Dr. Marraffini were in fact inventors of the Challenged Patent,
and were properly omitted as applicants. (Id.)

To support its inventorship arguments, Broad submitted a declaration by its United States
Patent Attorney, Respondent Kowalski of Respondent Vedder (“Kowalski Inventorship
Declaration”). (Schlich Dec. at ‘1[14; id., Ex. F.) In the Kowalski Inventorship Declaration,
Respondent describes an inventorship study he undertook to determine the inventorship of the
Broad Patents, including the Challenged Patents. (Id., Ex. F at 1115.) As part of the inventorship
study, Kowalski interviewed individuals “working in Dr. Feng Zhang’s laboratory at Broad, as
well as Dr. Luciano Marraffini and individuals working at Dr. Marraffini’s Laboratory of

Bacteriology at Rockefeller University (‘Rockefeller’).” (Id.) Kowalski also collected

 

5 The deadline for the patent owner’s response in the remaining Intellia Oppositions has not yet
passed.

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documents from the individuals he interviewed (Id. at ‘1[18.) Based on these interviews and
documents, Kowalski provided his opinion as to the correct inventors of the Broad Patents
(including the Challenged Patents). (Id. at 11118 (“[C]onsidering the matters discussed and
materials provided by the individuals interviewed and their explanations given during these
interviews, I affirmatively state and confirm that the applicants and inventors are correctly
identified on the PCT applications as set out in paragraph 17 above.”); id. at ‘][16 (“Based on this
inventorship study, I concluded that Dr. Feng Zhang first conceived of CRISPR-Cas9 genome
editing for use in mammalian cells, implemented the proof of concept study thereof while
establishing his laboratories at MIT and The Broad Institute, and contributed iri a not
insubstantial manner to both general and specific aspects of claims of each of the PCT

filings. . . .”).) Remarkably, neither Kowalski nor Broad provided the underlying documents or
notes of the interviews referenced to Applicant or the EPO. (Schlich Dec. at ‘]I 15.)

Respondent Kowalski also submitted a second declaration in support of Broad’s
arguments, (Id., Ex. H (“Kowalski Assignment Declaration”), collectively with the Kowalski
Inventorship Declaration (“Kowalski Declarations”).) Specifically, the Intellia Oppositions and
two other opponents challenged the assignments from certain inventors of the Broad
Applications to Broad, as they contained patent application numbers for patents that had yet to be
filed as of the date the assignments were dated. (See Schlich Dec. at ‘][16.) The Kowalski
Assignment Declaration explains how Respondent Vedder allegedly added the patent numbers
into the assignments after they were signed. (Id., Ex. H at ‘1[4.)

Pursuant to EPO opposition procedure, Applicant may respond to the Kowalski
Declarations with argument and evidence, including documentary evidence, deposition

testimony, or declarations (See Schlich Dec. at ‘1[‘1[3, 19.)

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D. THE DISCCVERY SOUGHT HERE

Applicant seeks discovery solely concerning the priority and ownership claims of the
Challenged Patents, including the inventorship study and assignments put at issue in the Intellia
Oppositions through the Kowalski Declarations. No more.

Specifically, Applicant seeks document discovery from Respondent Kowalski and
Respondent Vedder regarding (i) the inventorship study described and the conclusions regarding
inventorship contained in the Kowalski Inventorship Declaration, and (ii) documents relating to
the assignment of the patent applications discussed in the Kowalski Declarations (See Exs. 1 and
2.) Applicant also seeks deposition discovery from Respondent Kowalski regarding the subject
matter of the Kowalski Declarations. (See Ex. 3.)6

Furthermore, Applicant seeks document and deposition discovery from Respondents
Marraffini7 and Rockefeller regarding (i) the inventorship study described in the Kowalski
Inventorship Declaration; (ii) Respondent Marraffmi’s and others’ inventive contributions to the
patent applications discussed in the Kowalski Inventorship Declaration; and (iii) documents
relating to the assignment of the patent applications discussed in the Kowalski Declarations. (See
Ex. 4-7 .)

The requested discovery is highly relevant to Applicant’s invalidity claims in the Intellia

Oppositions and is narrowly tailored to avoid undue burden on Respondents.

 

6 Applicant seeks a deposition of Respondent Kowalski in his personal capacity. While not
obligated to describe the matters for examination, Applicant has provided its intended topics for
examination to show its intent to confine the deposition to narrow, relevant, and non-privileged
topics.

7 Applicant seeks a deposition of Respondent Marraftini in his personal capacity. As with
Respondent Kowalski, Applicant has provided its intended topics for examination t_o show good
faith.

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ARGUMENT

A. THE REQUESTED DISCOVERY SATISFIES THE STATUTORY
REQUIREMENTS OF SECTION 1782

Section 1782 allows any party with an interest in a foreign proceeding to apply to a
district court for discovery within the district. In particular, Section 1782 states in pertinent part:
The district cour_t of the district in which a person resides or is found may order him to
give his testimony or statement or to produce a document or other thing for use in a
proceeding in a foreign or international tribunal. The order may be made . .. upon the
application of any interested person and may direct that the testimony or statement be
given, or the document or other thing be produced, before a person appointed by the
court. . .. A person may not be compelled to give his testimony or statement or to produce
a document or other thing in violation of any legally applicable privilege.
28 U.S.C. § 1782(a). The goal of the statute is to “provid[e] equitable and efficacious procedures
for the benefit of tribunals and litigants involved in litigation with international aspects.” S.Rep.
No. 88-1580 (1964), reprinted in 1964 U.S.C.C.A.N. 3782, 3783; see also Brandr'-Dohrn v. IKB
Deutsche Industriebank AG, 673 F.3d 76, 80 (2d Cir. 2012) (reversing district court’s order
quashing subpoenas granted pursuant to Section 1782). In support of its goal, Section 1782 has,
“over the years, been given ‘increasingly broad applicability.”’ Brandi-Dohm, 673 F.3d at 80
(quoting In re Gianoli Aldunate, 3 F.3d 54, 57 (2d Cir.), cert. denied, 510 U.S. 965 (1993)).
Thus, under the statute, a Distiict Court may grant a petition for discovery pursuant to
Section 1782 if it: (1) is directed at someone found within the District; (2) is intended for use
before a foreign tribunal; (3) is based upon the application of a person interested iii the foreign
proceeding; and (4) does not seek privileged materials. 28 U.S.C. § 1782(a); see also Intel, 542

U.S. at 249. The Petition meets these four statutory requirements

1. The Respondents are Found Within this District

First, Respondents are “found” in this District. 28 U.S.C. § 1782(a). A corporation is

“found” iii a district where it conducts “systematic and continuous” activities. See In re Godfrey,

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526 F. Supp. 2d 417, 422 (S.D.N.Y. 2007); see also In _re Republic of Kazakhkstan, 110 F. Supp.
3d 512, 515 (S.D.N.Y. 2015) (holding that law firm is found in S.D.N.Y. based on “systemic and
continuous” presence from New York office). A person is “found” in a district where service of
the subpoena can be made under Federal Rule of Civil Procedure 45. See In re Edelman, 295
F.3d 171, 177-80 (2d Cir. 2002).

According to its website, Respondent Vedder has an office in this district at 1633
Broadway, New York NY 10019. (See Ex. 16.) And Respondent Kowalski is a shareholder of
Vedder located in that office. (See Ex. 17.) Moreover, Respondent Kowalski submitted the
Kowalski Declarations under penalty of “New York State Law.” (See Schlich Dec., Ex. F at ‘][l9;
id., Ex. H at L6.) Thus, Respondents Vedder and Kowalski are found in this District.

According to its website, Respondent Rockefeller is located in this district at 1230 York
Avenue, New York NY 10065. (See Ex. 18.) And Respondent Marrafiini maintains a laboratory
at Rockefeller’s location in this district (See Ex. 19.) Furthermore, on the ’527 Provisional
Application, Marraffini’s residence is listed as “New York, NY.” (See Schlich Dec., Ex. A.)
Thus, Respondents Rockefeller and Marraffini are also found in this District.

2. The Discovery Soiight is For Use in Proceedings iii a Foreign Tribunal

Second, the EPO is a foreign tribunal, and Intellia is seeking discovery for use in pending
proceedings before such foreign tribunal. Congress purposely used the word “tribunal” in order
to give the statute reach beyond foreign courts. The Senate Report states:

The word ‘tribunal’ is used to make it clear that assistance is not confined to proceedings

before conventional courts. . . . ln view of the constant growth of administrative and

quasi-judicial proceedings all over the world, the necessity for obtaining evidence in the

United States may be as impelling before a foreign administrative tribunal or quasi-
judicial agency as in proceedings before a conventional foreign court.

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S.Rep. No. 88-1580 (1964), reprinted in 1964 U.S.C.C.A.N. 3782, 3788; see also Intel, 542 U.S.
at 249 (finding Commission of the European Comrnunities qualified as a “tribunal” under
Section 1782).

In ;4kebia Therapeutics, Inc. v. Fibrogen, Inc., the Ninth Circuit recently found that the
EPO was a foreign tribunal under Section 1782. See 793 F.3d 1108, 1111 (9th Cir. 2015)
(affirming a grant of discovery under Section 17 82). Speciiically, the Ninth Circuit found that
opposition proceedings in front of the EPO “carry many of the hallrnarks of traditional judicial
proceedings: serving as first instance decision-makers tasked with resolving patent validity
disputes, collecting and reviewing evidence in order to resolve those disputes, and permitting
their decisions to be appealed and become subject to further review.” Id. (internal citation
omitted); see also Amgen Inc. v. Hill, No. 2:14-MC-00908-DN-EJF, 2015 WL 1401237, at *4
(D. Utah Mar. 25, 2015) (adopting Report & Recommendation to grant discovery under Section
1782 for use in entitlement proceedings concerning the inventorship and ownership of three
European patents); Minatec Finance S.d.r.l. v. SI Grp. Inc., No. 1:08-cv-269-LEK, 2008 WL
3884374, at *5 (N.D.N.Y. Aug. 18, 2008) (“Considering the comprehensive instruction from the
Supreme Court in Intel on this very issue . . . , the law pronounces administrative agency’s
investigation, such as this tax audit, on equal footing with [a foreign] Court [of law]" for
purposes of Section 1782.). Thus, the Intellia Oppositions pending before the EPO are
proceedings in a foreign or international tribunal.

3. Applicant is an Interested Party
Third, Applicant is an “interested party.” ln Intel, the Supreme Court unequivocally held

that litigants in a foreign proceeding qualify as interested parties under the statutory requirement
Intel, 542 U.S. at 256 (“[A] complainant [in a foreign proceeding] ‘possess[es] a reasonable

interest in obtaining [iudicial] assistance,’ and therefore qualifies as an ‘interested person’ within

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any fair construction of that term.”). Indeed, the Intel court noted that a foreign litigant “may be
the most common example of, the ‘interested person[s]’ who may invoke § 1782.” Id. (holding
that a complainant who triggered a European Commission investigation satisfied the Section
1782 requirement for an “interested person”); see also In re Application of Chevron Co)p., 709
F. Supp. 2d 283, 291 (S.D.N.Y. 2010) (“Chevron is an ‘interested person’ because it is a party
to” the foreign litigation).

Here, Applicant Schlich filed the Intellia Oppositions, is a party to those proceedings, and
therefore qualifies as an interested party under Section 1782. That Schlich filed both the Intellia
Oppositions and this Petition as an agent for Intellia does not impact his status as an interested
party. Lancaster Factoring Co. Ltd. v. Mangone, 90 F.3d 38, 42-43 (2d Cir. 1996) (affirming
district court’s grant of 1782 petition filed by the agent of the debtor in the foreign bankruptcy
proceedings). Furthermore, under case law governing the European opposition process, Schlich
is the party or opponent in the Intellia Oppositions (Schlich Dec. at ‘][7.) Thus, Applicant is
clearly an interested party.

4. The Discovery Sought is Not Privileged

Finally, the requested discovery is not privileged. With respect to Respondents
Marraffmi and Rockefeller, Applicant seeks discovery on the scientific work done by Marraffmi
and his team at Rockefeller in allegedly developing CRISPR/Cas9 technology and the
assignment of any patent applications resulting from that work to third parties. This discovery is
unquestionably not privileged.

Although Respondents Kowalski and Vedder are an attorney and law firm, respectively,
the discovery sought is not protected by any “legally applicable privilege.” 28 U.S.C. § 1782(a).
First, Applicant is seeking in part non-privileged scientific documents underlying Kowalski’s

inventorship analysis and non-privileged assignment documents, These documents were created

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not for the purpose of securing legal advice but to document the alleged inventors’ scientific
work or to assign rights in the patent applications; the fact they eventually ended up with
attorney Kowalski does not make them privileged See, e.g., Fisher v. United States, 425 U.S`.
391, 403 (1976) (holding that the attorney-client privilege only protects “disclosures necessary to
obtain informed legal advice which might not have been made absent the privilege”) (emphasis
added); Ho}ji'nan-LaRoche, Inc. v. Roxane Laboratories, Inc., C.A. No. 09-6335, 2011 WL
1792791, at *8 (May 11, 2011 D.N.J.) (“Documents are not privileged simply because they end
up with a lawyer or eventually prove useful to the lawyer’s provision of legal services.”).

Second, the Kowalski Inventorship Declaration notes that Kowalski was retained by
Broad. (Schlich Dec., Ex. F at ‘1[1 1.) Applicant seeks in part documents and testimony relating
to the interviews with “Dr. Luciano Marraffmi and individuals working in his Laboratory of
Bacteriology at Rockefeller University” (id. at ‘1[15, 18). There is no claim to privilege for this
discovery.

Third, disclosure of confidential communications to a third party, such as an adversary in
litigation, constitutes a waiver of privilege as to those matters. See Genentech, Inc. v. ITC, 122
F.3d 1409, 1415 (Fed. Cir. 1997); U.S. v. Mount Sinaz' Hospital, - F. Supp. 3d --, 2016 WL
2587393, at *3 (S.D.N.Y. May 4, 2016). Courts have held that declarations regarding
inventorship submitted to the United States Patent Office waive privilege. See Winbond
Electronics Corp. v. ITC, 262 F.3d 1363, 1375-76(Fed. Cir. 2001) (finding patentee waived
attorney-client privilege and work product protection by submitting a declaration by inventor to
the Patent Office to correct inventorship); Bd. of Trusrees of Leland Stanford Junior Univ. v.

Roche Molecular Sys., Inc., 237 F.R.D. 618, 625 (N.D. Cal. 2006) (finding patentee’s

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“submission of the declarations to correct inventorship on the original patent application to the
PTO was a waiver of privilege”).

Here, Respondents Kowalski and Vedder put at issue the inventorship study, the
communications underlying it, and their opinions drawn from it in the Intellia Oppositions.3
Thus, to the extent the documents and interviews underlying the inventorship study were ever
privileged, that privilege has been waived for all communications relating to the inventorship
study, Fort James Co)p. v. Solo Cup Co., 412 F.3d 1340, 1349 (Fed. Cir. 2005) (“The widely
applied standard for determining the scope of a waiver of attorney-client privilege is that the
waiver applies to all other communications relating to the same subject matter.”). “[A] party
cannot partially disclose privileged communications or affirmatively rely on privileged
communications to support its claim or defense and then shield the underlying communications
from scrutiny by the opposing party.” In re Grand Jury Proceedings, 219 F.3d 175, 182 (2d Cir.
2000); see also Fort James, 412 F.3d at 1349 (noting fairness dictates that “a party is prevented
from disclosing communications that support its position while simultaneously concealing
communications that do not”); Bd. of Trustees of Leland Stanford Junior Univ., 237 F.R.D. at
625 (N.D. Cal. 2006) (“ln sum, Stanford disclosed the contents of privileged attorney-client

communications and work product protection to the PTO to successfully obtain ownership of the

 

8 See, e.g., Schlich Dec., Ex. F at ‘][16 (“Based on this inventorship study, I concluded that Dr.
Feng Zhang first conceived of CRISPR-Cas9 genome editing for use in mammalian cells,
implemented the proof of concept study thereof while establishing his laboratories at Ml'I' and
The Broad Institute, and contributed in a not insubstantial manner to both general and specific
aspects of claims of each of the PCT filings. . . .); id at 1118 (“After having conducted the above
inventorship study . . . and considering the matters discussed and materials provided by the
individuals interviewed and their explanations given during those interviews, I affirmatively state
and confirm that the applicants and inventors are correctly identified . . . .”).

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contested patents, and cannot now attempt to shield all other communications on the same
subject matter, as this would unfairly prejudice Roche.”).

Because Applicant has limited its discovery requests to the three non-privileged
categories of discovery described above, the discovery sought is non-privileged However, even
assuming that any privilege could apply to potentially responsive discovery, the Federal Rules of
Civil Procedure, which govern the process of discovery in Section 1782 applications, provide
adequate protection. See Heraeus Kulzer, GmBH v. Biomet, Inc., 633 F.3d 591, 597 (7th Cir.
2011); see also In re Application of Chevron Corp., 749 F. Supp. 2d 135, 140 (S.D.N.Y. 2010)
(denying motion to quash a subpoena issued pursuant to Section 1782 over privilege objections,
finding respondent’s “privilege claims, to whatever extent they have not been waived, are
premature at best.”).

B. ALL OF THE DISCRETIONARY FACTORS OF SECTION 1782 WEIGH IN
FAVOR OF PERMITTING THE DISCOVERY APPLICANT SEEKS

Where, as here, the statutory requirements of Section 1782 have been met, the Supreme
Court has directed Distiict Courts to consider four additional factors before exercising their
discretion to grant a Section 1782 application: (1) whether the person from whom discovery is
sought is a party in the foreign proceedings; (2) the receptivity of the foreign tribunal to federal-
court assistance; (3) whether the request conceals an attempt to circumvent foreign proof-
gathering restiictions; and (4) whether the request is unduly intrusive or burdensome. See Intel,
542 U.S. at 264-65; see also Brandi-Dohm, 673 F. 3d at 80-81. Although it is not necessary that
all discretionary factors be met, as set forth below, each factor weighs in favor of granting the

discovery requested here,

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1. Respondents Are Not Participants in the Foreign Proceedings

The primary objective of Section 1782 is “to assist foreign tribunals in obtaining relevant
information that . . . they cannot obtain under their own laws.” Intel, 542 U.S. at 262. That is
precisely why courts have held that Section 1782 discovery is particularly warranted when the
person from whom discovery is sought is not a participant in the corresponding foreign
proceeding Id. at 264; see also In re Chevron Corp., 753 F. Supp. 2d 536, 539 (D. Md. 2010)
(stating that where neither respondent was a party to the foreign proceeding “this factor is
completely satisfied”); In re Roz Trading Ltd., No. 05-cv-02305-WSD, 2007 WL 120844, at *2
(N.D. Ga. Jan 11, 2007) (“Respondent is not a party to the arbitration, and on this ground alone
the first Intel factor is satisfied."). In those circumstances, that person (and the relevant
information in its possession), may fall beyond the reach of the foreign tribunal.

Because none of the Respondents - Rockefeller, Marraffini, Vedder, and Kowalski - are
party to the Intellia Oppositions or subject to the EPO’s jurisdiction, this factor weighs in favor
of the requested discovery.

2. The European Patent Office is Receptive to Discovery Pursuant to Section
1782

“Réceptivity” is not a question of whether the foreign tribunal would or could permit the
particular discovery; instead, it is an inquiry into whether a foreign legal system would “reject
evidence obtained with the aid of section 1782.” In re Application of 000 Promnefstroy, No. M
19-99 (RJS), 2009 WL 3335608, at *7 (S.D.N.Y. Oct. 15, 2009) (cmphasis in original); see also
Bayer 146 F.3d at 196; Euromepa, S.A. v. R. Esmerian, Inc., 51 F.3d 1095, 1102 (2d Cir. 1995)
(“Absent specific directions to the contrary from a foreign forum, the statute’s underlying policy
should generally prompt district courts to provide some form of discovery assistance.”). The

Second Circuit has provided instructive guidance on this point:

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We think that it is unwise-_-as well as in tension with the aims of section 17 82-for
district judges to try to glean the accepted practices and attitudes of other nations from
what are likely to be conflicting and, perhaps, biased interpretations of foreign law.
Although “[a] grant of discovery that trenched upon the clearly established procedures of
a foreign tribunal would not be within section 1782,” we do not read the statute to
condone speculative forays into legal territories unfamiliar to federal judges. Such a
costly, time-consuming, and inherently unreliable method of deciding section 1782
requests cannot possibly promote the “twin aims” of the statute,

Euromepa , 51 F.3d at 1099-100 (intemal citation omitted) (emphasis iii original); see also Intel,
542 U.S. at 265 (holding that a Section 1782 application could be granted despite the fact that the
foreign tribunal hearing the underlying matters “stated in amicus curiae briefs to this Court that
it does not need or want the District Court’s assistance”). Thus, courts must look for
“authoritative proof that a foreign tribunal would reject evidence obtained with the aid of section
1782.” Euromepa , 51 F.3d at 1100; see also 000 Promnefstroy, 2009 WL 3335608, at *7.

There is no authoritative proof the EPO would reject discovery obtained under Section
1782, To the contrary, the rules governing European oppositions and past practice confirm the
EPO would be receptive to the discovery sought herein. Indeed, the rules governing opposition
proceedings at the EFO contain no restrictions with regards to the type of evidence that may be
admitted and the EPO has allowed the submission of broad evidence iri prior matters. (See
Schlich Dec. at ‘}[1[18-19, 21-27.) Moreover, in Akebia Therapeutics, Inc. v. Fibrogen, Inc., the
Ninth Circuit affirmed the District Court’s grant of document and deposition discovery pursuant
to Section 1782 for use in a European Opposition. See 793 F.3d at 1112-13. Opponent Akebia
Therapeutics submitted evidence obtained pursuant to Section 1782 to the EPO, and the EPG not
only accepted that evidence but relied on it in making its decision to revoke the patent iii

question. (See Schlich Dec. at ‘][22-23; id., Ex. I at Section 4.4-4.5.)

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Here, because of the clear indications that the EPO is amenable to evidence gathered
pursuant to Section 1782, the second discretionary factor also weighs in favor of the requested
discovery.

3. The Petition is Not an Effort to Circumvent Foreign Proof-Gather'ing
Restrictions

The third discretionary Intel factor - whether the applicant is attempting to “circumvent
foreign proof-gathering restiictions” - is meant to preclude bad faith misuse of the process. See
Minatec, 2008 WL 3884374, at *8. This application is clearly a good faith effort to obtain
evidence for the sole purpose of presenting the EPO with a complete picture, where the patentee
has presented incomplete evidence. Furthermore, an applicant is not required to seek discovery
of the materials from the foreign tribunal before filing a Section 1782 application and the
information sought need not be discoverable there. Intel, 542 U.S. at 253 (holding that Section
1782 does not impose a “foreign-discoverability requirement”); Bayer, 146 F.3d at 196 (“Indeed,
a ‘quasi-exhaustion requirement’ . . . has been rejected by those courts that have addressed it.”).
Accordingly, this factor also weighs in favor of the requested discovery.

4. The Discovery is Neither Unduly Burdensome Nor Intrusive

The final discretionary Intel factor concerns whether the discovery sought is unduly
burdensome or intrusive. In considering this factor, a court is to determine whether the
discovery requests encompassed iri the petition are “sufficiently tailored to the litigation issues
for which production is sought." In re Application of Gemeinshcaftsprax¢'s Dr. Med Schottdorf,
2006 WL 3844464, at *8 (S.D.N.Y. Dec. 29, 2006); see also Mees v. Buiter, 793 F.3d 291, 302
(2d Cir. 2015) (“[A] district court evaluating a § 1782 discovery request should assess whether
the discovery sought is overbroad or unduly burdensome by applying the familiar standards of

Rule 26 of the Federal Rules of Civil Procedure.”). Here, Applicant’s discovery requests are not

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unduly burdensome or intrusive. To the contrary, they are narrowly tailored in scope and
substance to Applicant’s evidentiary needs in the Intellia Oppositions. They focus only on the
inventorship and ownership issues put at issue by Broad, including through the Kowalski
Declarations submitted by Respondents Kowalski and Vedder. As such, the requested discovery
is necessary in order to present the European Patent Office with a complete and accurate picture.
Bayer, 146 F.3d at 196 (noting where the information sought is relevant it is “presumptively
discoverable” under Section 1782).

Specifically, with respect to Respondents Kowalski and Vedder, Applicant has narrowly
tailored its requests to (i) the inventorship study described and the conclusions regarding
inventorship contained in the Kowalski Inventorship Declaration, and (ii) the assignments of the
patents discussed in the Kowalski Declarations. Thus, Applicant’s requests seek only discovery
on topics put at issue by Kowalski in the Intellia Oppositions. Furthcrmore, in the Kowalski
Inventorship Declaration prepared recently, Respondent Kowalski notes that he “consider[ed] the
matters discussed and materials provided by the individuals interviewed and their explanations
given during these interviews.” (See Schlich Dec., Ex. F at ‘1[18.) Thus, Respondents necessarily
gathered and reviewed much of the information sought by Applicant iri order to give the opinion
submitted under oath in the Kowalski Inventorship Declaration, Accordingly, having reviewed
such material, it is not an undue burden for Respondents to produce that material to Applicant.

With respect to Respondents Marraffini and Rockefeller, Applicant has narrowly tailored
its requests to discovery relating to (i) the inventorship study described iri the Kowalski
Inventorship Declaration; (ii) Respondent Marraffmi’s and others inventive contributions to the
patent applications discussed in the Kowalski Inventorship Declaration; and (iii) documents

relating to the assignment of the patent applications discussed in the Kowalski Declarations.

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Again, this discovery is highly relevant in light of the arguments by Broad and Kowalski in the
Intellia Oppositions that Respondent Marraffini is not an inventor.9

Therefore, this factor weighs in favor of the requested discovery.10

CONCLUSION
For the foregoing reasons, Applicant respectftu requests that this Court grant this

Petition and issue the requested subpoenas for document and deposition discovery.

Dated: August 26, 2016
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9 In separate proceedings, Rockefeller is also challenging Broad’s claim that Marraffmi is not an
inventor and therefore it is expected that the documents Applicant is requesting are readily
available to Respondents. (See, e.g., Ex. 20.)

w Although Applicant has made every effort to propound narrowly tailored discovery requests, if
the Court deems any of the requests to be overly broad at the outset, Applicant respectfully
requests that the requests be modified-or Applicant be given the opportunity to modify them.

In re Application For an Order Pennitting Metallgesellschaft AG, 121 F.3d 77, 80 (2d Cir. 1997)
(quoting Euromepa, 51 F.3d at 1101); see also Heraeus Kulzer, 633 F.3d at 598 (f'mding that if
the district court found the requested discovery too broad the “district court can and should cut
down its request, but not to nothing, as it did. That was unreasonable, and therefore reversible.”).

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